Case 8:04-cr-00235-DKC Document 1208 Filed 05/19/08 Page 1 of1

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UNITED STATES DISTRICT JUDGE

I “The Defendant Ja Von Dobie, obyects te Rulin /ovder dering

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Une * Pro Se Motion For, Reducton of Sentence (Paper Me 4g ) Feeney

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